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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


YUK RUNG TSANG,

                     Petitioner,
                                                          Case No. 05-CV-74166
vs.                                                       Crim. No. 00-CR-80541
                                                          HON. GEORGE CARAM STEEH


UNITED STATES OF AMERICA,

                     Respondent.

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       ORDER DENYING MOTION TO ALTER OR AMEND JUDGMENT (#318)
                      AS ON RECONSIDERATION

       Petitioner Yuk Rung Tsang's 28 U.S.C. § 2255 motion challenging the evidence

used to support a jury's guilty verdict on the charge that petitioner conspired to distribute

more than 100 grams of heroin was denied on December 1, 2005. Petitioner asserts the

court erred in failing to consider new evidence: an affidavit filed by a private investigator

indicating that jurors disagreed, notwithstanding their guilty verdict, as to the nature of

petitioner's drug transactions. As has been explained to petitioner by the Sixth Circuit in

affirming the conviction and sentence, and by this court in denying petitioner's motions for

for post-conviction and post-appeal relief, courts do not inquire into jurors' deliberations or

the reasons for the verdicts they collectively reach. See United States v. Tsang, No. 02-

1776, 96 Fed. Appx. 318, 2004 WL 874783 at **2 (6th Cir. 2004) (citing United States v.

Powell, 469 U.S. 57, 68-69 (1984) and United States v. Meyers, 646 F.2d 1142, 1145 (6th

Cir. 1981)). Petitioner has failed to demonstrate palpable error. See E.D. Mich. LR
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7.1(g)(3) (governing motions for rehearing or reconsideration). Accordingly,

      Petitioner's motion to alter or amend judgment is hereby DENIED as on

reconsideration.

      SO ORDERED.

                                        s/George Caram Steeh
                                        GEORGE CARAM STEEH
                                        UNITED STATES DISTRICT JUDGE

Dated: December 27, 2005

                             CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record on December 27, 2005, by
electronic and/or ordinary mail.


                                        s/Josephine Chaffee
                                        Secretary/Deputy Clerk




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